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                     EXHIBIT 2
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                                                                      Page 1
   IN THE UNITED STATES DISTRICT COURT FOR THE

           NORTHERN DISTRICT OF CALIFORNIA

                SAN FRANCISCO DIVISION



WAYMO, LLC,                    )

           Plaintiffs,         )

           - vs -              ) Case    No.

UBER TECHNOLOGIES, INC.,       ) 3:17-cv-00939

OTTOMOTTO LLC; OTTO            )

TRUCKING, LLC,                 )

           Defendants.         )

__________________________




    VIDEOTAPED DEPOSITION OF JOHN BARES,

a witness, called by the Plaintiff for examination,

in accordance with the Federal Rules of Civil

Procedure, taken by and before Tammie Elias, RPR and

Notary Public in and for the Commonwealth of

Pennsylvania, at the office of Reed Smith, 225 Fifth

Avenue, Suite 1200, Pittsburgh, Pennsylvania, on

Friday, June 16, 2017, commencing at 9:05 a.m.



JOB No. 2640097

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                                                                          Page 128
 1          by that I mean we needed -- if somebody else                      12:15p

 2          was first, we needed to be a nearby second.                       12:15p

 3          We just couldn't be second by three years or                      12:15p

 4          five years.                                                       12:16p

 5   Q.     If three years or five years was too long to                      12:16p

 6          be second, what would have been an okay amount                    12:16p

 7          of time to be second?                                             12:16p

 8                      MR. BRILLE:    Objection to form.                     12:16p

 9   A.     Six months to a year probably.                                    12:16p

10   BY MR. JUDAH:                                                            12:16p

11   Q.     In let's say the fall of 2015, did you have                       12:16p

12          any opinion as to how far behind for example                      12:16p

13          Waymo's AV program Uber was?                                      12:16p

14   A.     I had an opinion, yes.                                            12:16p

15   Q.     What was that opinion?                                            12:16p

16   A.     That we were like three or four years.                            12:16p

17   Q.     What was the basis for that opinion?                              12:16p

18   A.     Not much.    Other than they had an outright                      12:16p

19          eight-year head start and my view they had                        12:16p

20          squandered a bunch of that time monkeying                         12:17p

21          around building their own car and that we                         12:17p

22          could -- we never believed in doing that, so                      12:17p

23          we could at least jump ahead on that front.                       12:17p

24                     And then the second was that we had                    12:17p

25          an intensely focused team that was excellent                      12:17p
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                                                                          Page 129
 1          that was focused on one thing, not other                          12:17p

 2          business goals and I believed a lot in the                        12:17p

 3          team and I thought we could catch up and                          12:17p

 4          technology of course is on our side, computers                    12:17p

 5          get faster every year, storage gets cheaper.                      12:17p

 6          So starting later in this game has an                             12:17p

 7          inherited advantage just of that.                                 12:17p

 8   Q.     So you thought that even though Uber ATC had                      12:17p

 9          an eight-year absolute time disadvantage, that                    12:17p

10          by late 2015 you were probably only three to                      12:17p

11          four years behind?                                                12:17p

12                      MR. BRILLE:    Objection to form.                     12:17p

13          Misstates the testimony.                                          12:17p

14   A.     Yes.                                                              12:17p

15   BY MR. JUDAH:                                                            12:17p

16   Q.     I want to ask you about --                                        12:17p

17   A.     And we had also licensed a huge amount of                         12:18p

18          intellectual property from Carnegie Mellon and                    12:18p

19          that I believe saved us a large chunk of time                     12:18p

20          moving forward.     And part of that eight-year                   12:18p

21          head start was that when Chris Urmson left                        12:18p

22          Carnegie Mellon, which I knew as a peer, he                       12:18p

23          opened Source Stal with his software so Google                    12:18p

24          didn't have to license it.                                        12:18p

25   Q.     But then neither did you?                                         12:18p
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                                                                          Page 130
 1   A.     What's that?                                                      12:18p

 2   Q.     But then neither did Uber?                                        12:18p

 3   A.     Yeah, but that was eight-year-old software, so                    12:18p

 4          we did it the right way.                                          12:18p

 5   Q.     What do you mean you did it the right way?                        12:18p

 6   A.     I think to open Source software to avoid a                        12:18p

 7          license is a little odd.                                          12:18p

 8   Q.     So the fact that you had licenses from                            12:18p

 9          Carnegie Mellon was part of the reason why in                     12:19p

10          your opinion Uber ATC was only three to four                      12:19p

11          years behind Google, Waymo?                                       12:19p

12   A.     Exactly.                                                          12:19p

13   Q.     I want to ask some more questions about                           12:19p

14          Mr. Levandowski.     When did you first hear the                  12:19p

15          name Anthony Levandowski?                                         12:19p

16   A.     On or around 2004 related to the Darpa grand                      12:19p

17          challenge.                                                        12:19p

18   Q.     When was the next time you heard the name                         12:19p

19          Anthony Levandowski?                                              12:19p

20   A.     Well, it was that -- I met him.                                   12:19p

21   Q.     You met him at the 2004?                                          12:19p

22   A.     Yeah, I tried to hire him, yeah.                                  12:19p

23   Q.     You tried to hire him in 2004, you tried to                       12:19p

24          hire him for what capacity, remind me where                       12:19p

25          you worked?                                                       12:19p
